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Kendall Brill
& Kelly LLP

10109 Santa Monica Blvd.
Suite 172S
Los Angeles, CA 90057

D.

UNITED STATES OF AMERICA
Plaintiff,
V.
EDGAR SARGSYAN
Defendant.

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FILED
CLERK, U.S. DISTRICT COURT

11/30/2023

CENTRAL DISTRICT OF CALIFORNIA
BY: JRE __ DEPUTY

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA
WESTERN DIVISION

Case No. CR 20-190-RGK

TO rr bora GRANTING
‘X PARTE APPLICATION FOR AN
ORDER TO FILE DEFENDANT
EDGAR SARGSYAN’S RESPONSE
TO THE GOVERNMENT’S
SENTENCING MEMORANDUM
UNDER SEAL

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III
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fPREPCSEB} ORDER GRANTING EX PARTE APPLICATION FOR AN ORDER TO FILE DEFENDANT
EDGAR SARGSYAN’S RESPONSE TO THE GOVERNMENT’S SENTENCING MEMORANDUM UNDER

SEAL

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D.

e 2:20-cr-00190-RGK Document 86 Filed 11/30/23 Page 2 o0f2 Page ID #:560

After reviewing Defendant Edgar Sargsyan’s Ex Parte Application for an
Order to File Defendant Edgar Sargsyan’s Response to the Government’s
Sentencing Memorandum Under Seal, the Declaration of Robert E. Dugdale in
support thereof, and Good Cause showing therefor:

IT IS HEREBY ORDERED that Defendant Edgar Sargsyan’s Response to
the Government’s Sentencing Memorandum will be placed under seal. Defendant
Sargsyan may produce the underlying documents as permitted or required by

applicable law.

11/30/2023
Dated:

Honorable R. Gary aca
United States District Court Judge

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fPREPCSEB}ORDER GRANTING EX PARTE APPLICATION FOR AN ORDER TO FILE DEFENDANT
EDGAR SARGSYAN’S RESPONSE TO THE GOVERNMENT’S SENTENCING MEMORANDUM UNDER
SEAL

